Case 1:25-fp PH PENTED SIMPEPDISTRICPEEORY25 Page 1 of 5
FOR THE DISTRICT OF MARYLAND

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December 6, 1963 ep ee
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~1519 Harford 4brive WN ~ 8 ange
| 1040 fy “FRE PA M9.
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(Full name, dase of birds, ideraification 4, address of petitioner, 4T¥
Plaintiff,
Case No.: “

4 oe f -£f Gahter * (Leave blank. Ta be filled in by Court)

/ 1 Bir Police Mpts)

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arkerd County Government

(Full name and address of respondent) J
Defendant(s).

COMPLAINT
i. Previous Lawsuits

A. Have you filed other cases in state or federal court dealing with the same facts as in this
case or against the same defendants? -

ves CO no
B. If you answered YES, describe that case(s) in the spaces below.
1. Parties to the other case(s): -

Plaintiff:

Defendant(s):

2. Court (ifa federal court name the district; if'a state court name the city or county):

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3. Case No.:

4, Date filed:

5. Name of judge that handled the case:

6. Disposition (won, dismissed, still pending, on appeal):

7. Date of Disposition:

H. Administrative Proceedings

A. If you are a prisoner, did you file a grievance as required by the prison’s administrative
remedy procedures?

YES O no OO
1. Ifyou answered YES:

a. What was the result?

b. Did you appeal?

YES No QO

2. Ifyou answered NO to either of the questions above, explain why: TL LLY)
Not « uffent ly On inmate.

Ul. Statement of Claim

(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
number and explain each claim in a separate paragraph.)

On Sune 2, 2084 After altending my
AcondSons bi ctndag party ibhere
(a 4 Ossqulted by Aumetous people .

ZT went to my _son Kendall Luons house

in Edgewood Md. to tell _him What had
Cont

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happened. I was inside of my vehicle and my son, Kendall Lyons was
standing outside. Numerous officers approached us. Yelling, “get out
of the car”! “Get down on the ground”! My son, Kendall Lyons was
telling them, that he was home all day. They were yelling that he fits the
description. The police had 2 big guns pointed at us, as we laid face
down on the ground. I kept on telling them that I am the sole owner of
the 2019 Jeep Grand Cherokee! They were saying that my vehicle
belonged to my son Wesley Lyons Jr., who they alleged had committed
acrime. As they were waiting for a warrant to search my son, Kendall
Lyons house. My 7 yr. grandson was inside the house. My daughter in
law told the police, that my grandson was inside the house and that he
was scared! She kept asking them. Can they please let him come out
the house? Awhile had passed before they finally let my grandson out.
As they were searching my sons house. They put me in the back ofa
police cruiser. While waiting in the police cruiser. The police told me
that, they were going to seize my 2019 Jeep Grand Cherokee. After
what seemed like hours. I was first transported to the Harford County
Southern Precinct and then transported to the Bel Air Police Department.
While they had me in custody. The police busted down my door to my
residence at 201 Windmille Pointe Ct. Unit ID, Abingdon, MD 21009
and tore my house apart. Extensive damage was done to the door. They
did not have any reason to come into my house. The alleged suspect
doesn’t live with me at my residence.

2.  Atthe Bel Air Police Dept. Sgt. Henry Marchesani presented me
with my charging documents that he wrote up. He charged me with 3
felonies 1. 1** Degree Accessory After Fact Murder 2. 2" Degree
Accessory After Fact Murder 3. Access After the Fact. All made up
charges by Sgt. Henry Marchesani. I had nothing to do with any crime.
Also, the victim in the case was not murdered. At around, 1:30 a.m. on
June 3, 2024. I was transported to the Harford County Detention Center.
When I Strived titre. Sgt Henry’ MardHesant asked me, who he could
release my vehicle to? He said that he would be done with my vehicle 2
days later. I gave him my son, Kendall Lyons name and phone number.
He did not call my son to release my vehicle to him. I was never able to
get my vehicle back. Because this situation caused me to have a big tow
bill. The tow bill at the time of my release was $2,800.00. I could not
afford to get it out. I had to call the finance company to go to pick it up.
When the finance company picked my vehicle up, it turned into a
repossession.

3. I was booked at the Harford County Detention Center.
Commissioner Tittle-Hughes held me on no bond. On the statement of
probable cause document. She checked off, that she was releasing me
on my own recognizance. But instead, said that I would be having a
bond review on, June 4, 2024. I went for my bond review in front of
Judge Tracey J Delp. My public defender had told the representative
from the states attorney’s office that the charges that I was charged with
were not correct. The states attorney’s office representive, said that he
will be amending the charges at some point. He said, that he doesn’t
think that there is a charge of Accessory Attempted murder after the
fact! But instead, Judge Delp kept me held on no bond. While I was in
jail they moved me to maximum security. Because of being falsely
accused. I was in jail for 23 days before they finally Nolle Prosequi my
case. When I got out of jail on, June 25, 2024. I found out that I had
lost my job. Before I was arrested. I was working at BSC America.
They terminated me on June 3, 2024. All of the media coverage and my
face being put all over television and the internet caused me to be
terminated. Being falsely accused of a crime that I did not have any
participation in, has really taken atoll on me! Ihave not found a
steady job, yet. My mental health is not the same as it was before this
incident happened.
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IV, Relief
(State briefly what you want the Court to do for you.)

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Signature of Plaintiff

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Printed Name

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